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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                         MAY 15 2025
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
 IRVIN MUSGROVE,                                No. 23-3922
                                                D.C. No.
             Plaintiff - Appellant,             3:20-cv-00614-JO-BLM
  v.                                            Southern District of California,
                                                San Diego
 ANGIE HANIFIN; et al.,
                                                MANDATE
             Defendants - Appellees.



       The judgment of this Court, entered April 23, 2025, takes effect this date.

       This constitutes the formal mandate of this Court issued pursuant to

 Rule 41(a) of the Federal Rules of Appellate Procedure.



                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
